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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,

                     Plaintiff

              v.                                    No: 19-cv-01930

$53,082,824.19 IN U.S. CURRENCY,

              Defendant




          BANCO SAN JUAN INTERNACIONAL’S MOTION TO DISMISS
                 PURSUANT TO THE EIGHTH AMENDMENT




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       The Supreme Court recently reaffirmed that “civil in rem forfeitures are fines for purposes

of the Eighth Amendment when they are at least partially punitive.” Timbs v. Indiana, 139 S. Ct.

682, 690 (2019); see also Austin v. United States, 509 U.S. 602 (1993) (same). Moreover, it is

clear “that forfeiture generally and statutory in rem forfeiture in particular historically have been

understood, at least in part, as punishment.” Austin, 509 U.S. at 618. The forfeiture sought here

is more than remedial, as it does not dispose of contraband and the $53 million penalty sought has

no relationship to the cost of law enforcement, so it is at least partially punitive. Id. at 621.

       Nor can there be any doubt that this forfeiture is barred by the Eighth Amendment. In

United States v. Bajakajian, 524 U.S. 321, 339 (1998), as part of a criminal forfeiture following a

conviction for failure to report the transportation of more than $10,000, the Supreme Court struck

down the proposed forfeiture because it was “grossly disproportional to the gravity of [the

defendant’s] offense.” The forfeiture required under the applicable statute was the amount

involved in the offense, 18 U.S.C. §982(a), which was $357,144. 1 The district court found that

extraordinarily harsh though and ordered forfeiture of only $15,000, less than 5 percent of the

requested forfeiture. Id. at 326. The government appealed seeking the full amount of the offense,

but the Court of Appeals affirmed because no forfeiture of any amount could be squared with the

Eighth Amendment. The district court’s $15,000 forfeiture order was not disturbed, however,

because the defendant failed to cross-appeal in challenging that forfeiture. Id. at 327. The

Supreme Court affirmed without remanding to consider a higher forfeiture, leaving open the

question of whether even the $15,000 forfeiture ordered may have been too great. Id. at 337 n.11;




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 Bajakajian also made clear that “[t]he currency in question is not an instrumentality” of the crime,
“the currency is merely the subject of the crime of failure to report.” 524 U.S. at 334 & n.9.
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id. at 354 (Kennedy, J., dissenting) (noting the majority’s ruling means a penalty of 5% or less is

acceptable).

       The Court should find that any forfeiture in this case, and particularly the $53 million

sought, would violate the Excessive Fines Clause of the Eight Amendment. Bajakajian is

controlling: “Bajakajian involved an in personam forfeiture. But the Supreme Court seemed to

declare in sweeping language that punitive forfeitures—regardless of whether they proceed in rem

or in personam—are excessive if they are ‘grossly disproportional to the gravity of a defendant’s

offense.’” Von Hofe v. United States, 492 F.3d 175, 184 (2d Cir. 2007) (quoting Bajakajian)

(finding a forfeiture excessive). Indeed, the fact that Bajakajian was a criminal forfeiture made it

worse—there was a finding made by a jury beyond a reasonable doubt that the defendant had

“willfully” committed the crime, and there can be no such finding in this civil in rem action.

       Bajakajian looked to the gravity of the offense and explained that it was “solely a reporting

offense,” and the government would have been deprived of information only “[h]ad his crime gone

undetected.” 524 U.S. at 337-39. The situation here is not far different, as there was no harm to

the United States. Banco San Juan Internacional (BSJI) is not insured by the United States. The

government’s charges are an incomprehensible listing of statutes, but it is hard to see where BSJI’s

conduct could have harmed anyone else. (See Mot. to Dismiss for Failure to State a Claim.) The

government’s false bank record charge (18 U.S.C. §1005) would seem comparable to the false

reporting offense in Bajakajian, in that the government would have been deprived of only

information, nothing else and certainly not money.

       The government’s fraud counts (wire fraud under 18 U.S.C. §1343, and bank fraud under

18 U.S.C. §1344) are even more perplexing, as it would seem that BSJI itself would be the victim

of the alleged fraud. If that is the case, punishing the victim would seem perverse. To the extent



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that forfeiture is viewed as a tool for restitution, it is better just leaving the money where it is—

with the supposed victim.

       The government’s final charge of money laundering (18 U.S.C. §1956(a)(2)(A)) leaves us

stumped because there is no explanation for this charge whatsoever. There is no allegation that

the funds BSJI received are the proceeds of any specified unlawful activity, or that it is promoting

specified unlawful activity. The money in the accounts reflect payments on a loan that is not

alleged to be intrinsically illegal, and there is no allegation of how BSJI would use the money so

there is no allegation that it was being used in any way to promote any unlawful activity. 18 U.S.C.

§1956(a)(2)(A). The transaction described in the Complaint is at an end when the money that had

been loaned out is returned and deposited in the bank. However, as the transaction is characterized,

there does not appear to be any harm, to anyone, in any amount. In these circumstances, even

accepting the government’s insufficiently threadbare claims as true, forfeiture would be excessive

and disproportionate.

       The Court should immediately release or dismiss $50 million from this action and from

being restrained, because it is inconceivable that any such amount could constitutionally be

forfeited, and wait to dismiss the remaining more than $3 million when it is satisfied the entire

action should be dismissed. The remaining more than $3 million is in excess of the 5% forfeiture

imposed in Bajakajian, leaving the Court with a cushion in-line with prior Supreme Court

precedent in the event it decides that any forfeiture is warranted at all. Otherwise, BSJI will forced

to bear the effects of the government’s grossly excessive and unwarranted seizure of an incredible

amount of money needed for BSJI’s operations for an extended period of time without due process

and in the absence of adequate notice of the grounds on which basis the funds were seized.




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Dated: October 9, 2019

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                                CERTIFICATE OF SERVICE

       I certify that the foregoing was filed on October 9, 2019 with the Clerk of Court using the

CM/ECF system, which automatically sent a notice of electronic filing to all counsel of record.

                              /s/ Guillermo-Ramos Luiña
                              Guillermo Ramos Luiña




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